                          Case 2:10-cv-08888-CJB-JCW Document 66442 Filed 04/20/11 Page 1 of 3
                                         IN RE: OIL SPILL by "Deepwater Horizon"
                                               [ IRECT FILING SHORT FORM1
                               Authorized by Ore er of the Court, Civil Action NO.1 0 md 2179 Rec. Doc. 982
                (Copies        of said Order ha ing also been filed in Civil Actions No. 10-8888 and 10-2771)
MOL 2179                                                               SECTION:J                                                    JUDGE CARL BARBIER

       CLAIM IN L1MITATION-JOI ~DER IN MASTER ANSWER-INTERVENTION   AND JOINDER
                IN MASTER COM PLAINTS - PLAINTIFF/CLAIMANT PROFILE FORM
    By submitting this document, I am ~sserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
    al., No. 10-2771; adopt and incorpor ~te the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 0-2771; andlor intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private econom c losses ("B1 Bundle") filed in MOL No. 2179 (10 md 2179); andlor intervene
    into, join and otherwise adopt the lVIaster Complaint [Rec. Doc. 881] for post-explosion injuries ("B3 Bundle")
    filed in MOL No. 2179 (10 md 2179).


     Last Name                                           First Name                                     Middle Name/Maiden                            Suffix
     Ireland                                             Patrick

     Phone Number                                                                      E-Mail Address
     713-614-9926                                                                      paddysgirI33@yahoo.com
     Address                                                                           City / State / Zip
     14002 Cypress Breeze Court                                                        Cypress, TX 77429

     INDIVIDUALCLAIM                                                                   BUSINESSCLAIM
     Employer Name                                                                     Business Name
     Veolia ES
     Job Title / Description                                                           Type of Business
     Saturation Diver
    Address                                                                         Address
     149 Woodland Dr.
     City / State / Zip                                                                City / State / Zip
     LaPlace, LA 70068
     Last 4 digits of your Social Security Number                                      Last 4 digits of your Tax 10 Number
     8360

    Attorney Name                                                                      Firm Name
    PAUL STERBCOW                                                                      LEWIS, KULLMAN,        STERBCOW           & ABRAMSON
    Address                                                                            City / State / Zip
    601 POYDRAS ST., SUITE 2615                                                        NEW ORLEANS/LA/70130

    Phone Number                                                                       E-Mail Address
    504-588-1500                                                                       STERBCOW@LKSALAW.COM



                                     YES                ~0                             Claim Filed with GCCF?:           YES              NO ~
    Claim filed with BP?                                     [8J
     If yes, BP Claim No.:                                                             If yes, Claimant Identification   No.:    In process of submitting

    Claim Type (Please check all that apply):
                     Damage or destruction to real or   ersonal property                         Fear of Future Injury and/or Medical Monitoring
               I8J   Eamings/Profit Loss                                                         Loss of Subsistence use of Natural Resources
                     Personal Injury/Death                                                       Removal and/or clean-up costs
                                                                                                Other:




1 This form   should be filed With the u.s. District C urt for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Ree. Doc. 246, CA. No. 10-2771 and Ree. Doc. 982 in
MOL 2179), the filing of this form in CA. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filin of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.
                                                                                   1

          The filing of this Direct Filing Short Fe rm shall also serve in lieu of the requirement              of a Plaintiff   to file a Plaintiff Profile Form.
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Brief Description:

1.     For earnings/profit loss, property amage and loss of subsistence use claims, describe the nature of the injury. For claims
       involving real estate/property, incl de the property location, type of property (residential/commercial), and whether physical
       damage occurred. For claims rela ing to fishing of any type, include the type and location of fishing grounds at issue.


       As a Commercial Diver servi in                the offshore oil industry in the Gulf of Mexico Plaintiff/Claimant

       has suffered and continues              0 suffer   severe economic losses as a direct result of the Defendants'

       actions that caused the oil sill.




 3.     For personal injury claims, descri e the injury, how and when it was sustained, and identify all health care providers and
        employers 2008 to present and c mplete authorization forms for each.




 4.     For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
        employer, and where you were w rking.




                                                                         2

      The filing of this Direct Filing Short   arm shall also serve in lieu of the requirement   of a Plaintiff to file a Plaintiff Profile Form.
               Case 2:10-cv-08888-CJB-JCW Document 66442 Filed 04/20/11 Page 3 of 3
 Please check the box(es) below th
 Non overnmental Economic Los

     0   1.   Commercial fisherman, shri per, crabber,                   or oysterman,       or the owner and operator         of a business       involving     fishing,
              shrimping, crabbing or oysteri g.

     0   2.   Seafood    processor,     distributor,     retail and seafood     market, or restaurant       owner and operator,         or an employee          thereof.

     0   3.   Recreational business owne , operator or worker, including a recreational fishing                            business,    commercial      guide service,      or
              charter fishing business who arn their living through the use of the Gulf of Mexico.

         4.   Commercial   business, busi ess owner, operator or worker, including commercial                                 divers,   offshore     oilfield    service,
               repair and supply, real estat agents, and supply companies, or an employee thereof.

     0   5.   Recreational      sport fishermen         recreational    diver, beachgoer,      or recreational    boater.

     0   6.   Plant and dock worker,         inclu     ing commercial       seafood   plant worker,      longshoreman,       or ferry operator.

     0   7.     Owner, lessor, or lessee of r al property              alleged to be damaged,          harmed or impacted,      physically   or economically,          including
              lessees of oyster beds.

     o 8.     Hotel owner and operator,          va ation rental owner and agent, or all those who earn their living from the tourism industry.

     o 9.     Bank, financial     institution,   or retail business      that suffered    losses as a result of the spill.

     o 10. Person who utilizes natural resources for subsistence.
     o 11. Other.
  Post-Explosion Personallniurv.                       edical Monitorina. and Property Damaae Related to Cleanup (Bundle B3)
     o 1.     Boat captain      or crew involve         in the Vessels      of Opportunity     program.

     o 2.     Worker involved       in deconta         inating vessels that came into contact with oil and/or chemical                  dispersants.

     o 3.     Vessel captain or crew who               as not involved in the Vessels of Opportunity             program     but who were exposed to harmful
               chemicals, odors and emissi             ns during post-explosion clean-up activities.

     o 4.     Clean-up   worker or beach pe sonnel involved                 in clean-up   activities    along shorelines     and intercoastal      and intertidal zones.

     o 5.     Resident   who lives or works            in close proximity     to coastal waters.

     o 6.     Other:



Both BP and the Gulf Coast Claims Facility ("GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents         ubmitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to suc information being treated as "Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial      rder No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicab e) filing this form and PSC through Plaintiff Liaison Counsel.




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    The filing of this Direct Filing Short F< rm shall also serve in lieu of the requirement                      of a Plaintiff   to file a Plaintiff Profile Form.
